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Entered: April 10, 2019
Signed: April 10, 2019

SO ORDERED




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF MARYLAND
                                         at Greenbelt
                              In re: Case No.: 18−26200 − TJC             Chapter: 7
In Re: Debtor (names used by the debtor in the last 8 years, including married, maiden, trade, and address):

   Yecker Stephenson
   debtor has no known aliases
   307 Tamarack Court
   Upper Marlboro, MD 20774
   Social Security No.: xxx−xx−1481
   Employer's Tax I.D. No.:


                                                FINAL DECREE

Petition for Relief under Chapter 7 of Title 11, U.S. Code was filed by or against the above−named debtor on
12/10/18.

The estate of the above−named debtor has been fully administered.

ORDERED, that Gary A. Rosen is discharged as trustee of the estate of the above−named debtor; and the Chapter 7
case of the above named debtor is closed.



                                                    End of Order
fnldec − cmbrown1
